   Case: 1:10-cv-07633 Document #: 273 Filed: 04/13/12 Page 1 of 2 PageID #:3383




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Plaintiff,                                     )   Case No. 10-cv-07633
                  v.                               )
                                                   )   Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois            )
corporation, SUNSET VILLAGE LIMITED                )
PARTNERSHIP, an Illinois limited partnership;      )
TCF NATIONAL BANK, a national banking              )
association; L H BLOCK ELECTRIC                    )
COMPANY, INC., an Illinois corporation,            )
DOHERTY, GIANNINI, REITZ                           )
CONSTRUCTION, INC., an Illinois corporation,       )
and EAGLE HEATING & COOLING INC., an               )
Illinois corporation, and LAYNE CHRISTENSEN )
COMPANY, a Delaware corporation; and               )
LAYNE-WESTERN, a division of Layne                 )
Christensen Company, a Delaware corporation,       )
                                                   )
     Defendants.                                   )
_________________________________________ )
                                                   )
JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Counter-Defendant/Counter-Plaintiff,           )
                                                   )
v.                                                 )
                                                   )
THE KLARCHEK FAMILY TRUST, a Trust                 )
organized under the laws of the State of Illinois; )
JOHN COSTELLO, not individually but solely as )
Trustee of the Klarchek Family Trust; JOHN         )
LOGIUDICE, not individually but solely as          )
Trustee of the Klarchek Family Trust; WOLIN,       )
KELTER and ROSEN, LTD., an Illinois                )
corporation; BAUCH & MICHAELS, LLC, an             )
Illinois limited liability company; CAPITAL        )
FIRST REALTY, INC., an Illinois corporation;       )
CAPITAL HOME SERVICES CORP., an Illinois )
corporation; GILSON, LABUS & SILVERMAN,            )
LLC an Illinois limited liability company; JAY     )
KLARCHEK, an individual, MICHAEL                   )
PASHAWITZ, an individual, and SUNSET               )
   Case: 1:10-cv-07633 Document #: 273 Filed: 04/13/12 Page 2 of 2 PageID #:3384




VILLAGE LIMITED PARTNERSHIP, an Illinois             )
limited partnership;                                 )
                                                     )
   Third-Party Defendants.                           )
                                                     )


                                           ORDER

       Receiver, Steven S. Spinell, filed his Fifth Receiver Report [Docket #264] on April 2,

2012, covering the time period of January 10, 2012 through March 9, 2012, and requesting

payment in the amount of $44,160.91 for services rendered in December 2011 and January and

February 2012;

       No objections were filed with respect to the Fifth Receiver Report;

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Court

approves the Fifth Receiver Report and Receiver, Steven S. Spinell, is authorized to make

payment to himself out of Receivership funds for compensation in the sum of $44,160.91 for

services rendered in December 2011 and January and February 2012.




Date: April 13, 2012
                                     MATTHEW F. KENNELLY
                                     UNITED STATES DISTRICT JUDGE




                                          Page 2 of 2
